Case 17-55587-pmb         Doc 130    Filed 06/26/18 Entered 06/26/18 11:13:02            Desc Main
                                    Document      Page 1 of 3




   IT IS ORDERED as set forth below:



   Date: June 26, 2018
                                                          _____________________________________
                                                                        Paul Baisier
                                                                U.S. Bankruptcy Court Judge

   _______________________________________________________________



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                               :               CHAPTER 7
                                                      :
 DN REAL ESTATE SERVICES                              :
 & ACQUISITIONS, LLC,                                 :
                                                      :               CASE NO. 17-55587-PMB
          Debtor.                                     :
                                                      :

 ORDER APPROVING EMPLOYMENT OF ATTORNEYS, SUBJECT TO OBJECTION

          On June 25, 2018, S. Gregory Hays, in his capacity as Chapter 7 Trustee (the “Trustee”),

 filed an application for appointment of Arnall Golden Gregory LLP (“AGG” or “Applicant”) as

 attorneys for Trustee [Doc. No. 129] (the “Application”). The Application and accompanying

 verified statement demonstrate that AGG is a firm of attorneys qualified to practice in this Court,

 that Applicant is disinterested and represents no interest adverse to Debtor or the estate. As this

 case     justifies   employment     of    a    professional    for    the    purpose     specified,




 12374995v1
Case 17-55587-pmb         Doc 130       Filed 06/26/18 Entered 06/26/18 11:13:02       Desc Main
                                       Document      Page 2 of 3


 it is hereby

          ORDERED that under 11 U.S.C. § 327 and Bankruptcy Rule 2014, the Application is

 GRANTED: Trustee is authorized to employ Applicant as Trustee’s attorney during this Chapter

 7 case. It is further

          ORDERED that compensation shall be paid to AGG upon notice, hearing, and approval

 of the Court pursuant to 11 U.S.C. §§ 330, 331 and Bankruptcy Rule 2016 of an appropriately

 detailed application. It is further

          ORDERED that this Order is entered subject to written objection of the U.S. Trustee or

 any other party in interest within twenty-one (21) days from the date of entry of this Order. Any

 objection to this Order shall be served on the United States Trustee, Trustee, and proposed

 counsel for Trustee. If an objection is timely filed, then proposed counsel for Trustee shall

 schedule a hearing on the Application and such objection pursuant to the Court’s open Calendar

 Procedures, and shall provide notice of such hearing to the United States Trustee, Trustee, and

 the objecting party.

                                       [END OF DOCUMENT]

 Draft order prepared and presented by:

 ARNALL GOLDEN GREGORY LLP

 By:/s/ Michael J. Bargar
     Michael J. Bargar
     Georgia Bar No. 645709
 171 17th Street, NW, Suite 2100
 Atlanta, GA 30363
 (404) 873-8500

 Proposed Attorneys for Trustee




 12374995v1
Case 17-55587-pmb              Doc 130          Filed 06/26/18 Entered 06/26/18 11:13:02   Desc Main
                                               Document      Page 3 of 3




 Identification of parties to be served:

 Office of the United States Trustee
 362 Richard B. Russell Building
 75 Ted Turner Drive, SW
 Atlanta, GA 30303

 S. Gregory Hays
 Hays Financial Consulting, LLC
 2964 Peachtree Rd, NW, Suite 555
 Atlanta, GA 30305

 Howard P. Slomka
 Slipakoff & Slomka, PC
 Overlook III – Suite 1700
 2859 Paces Ferry Rd, SE
 Atlanta, GA 30339

 DN Real Estate Services & Acquisitions,
 LLC
 2020 Howell Mill Rd
 Suite D – 199
 Atlanta, GA 30318

 Michael J. Bargar
 Arnall Golden Gregory LLP
 171 17th Street, N.W.
 Suite 2100
 Atlanta, GA 30363-1031




 AGG\22151\128\12374995.v1-6/20/2018 4:21 PM
 12374995v1
